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   8                        UNITED STATES DISTRICT COURT
   9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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  11 JOSEPH F. INIGUEZ,                           Case No. 2:22-cv-00106-MCS-GJS
                                                  [District Judge: Mark C. Scarsi;
  12               Plaintiff,                     Magistrate: Gail J. Standish]
  13         v.
                                                  ORDER RE: JOINT STIPULATION
  14 OFFICER R. MARTINEZ, an                      FOR FURTHER CONTINUANCE
     individual and Officer of the Azusa          OF STAY OF PROCEEDINGS
  15 Police Department; CITY OF AZUSA,            PENDING COMPLETION OF
     a public entity; and DOES 1 to 20,           DEPARTMENT OF JUSTICE
  16                                              INVESTIGATION (ECF No. 19)
                   Defendants.
  17
                                                  Complaint Filed: 01/06/22
  18                                              FAC Filed:       01/12/22
                                                  Trial Date:      N/A
  19
  20         Pursuant to the Status Report and Joint Stipulation of the parties, and Good
  21 Cause appearing therefor, IT IS HEREBY ORDERED:
  22         1.    The Court hereby continues the stay of all proceedings in this matter –
  23 including all non-expert and expert discovery, discovery and dispositive motions, and
  24 trial of the civil matter – for 120 days or until the pending criminal investigation by
  25 the Department of Justice has been completed, whichever occurs first. Additionally,
  26 this matter shall remain removed from the active case calendar as previously ordered.
  27         2.    If the criminal investigation is still ongoing after the expiration of 120
  28 days from the entry of this order, the parties shall jointly issue a report to the Court

        [PROPOSED] ORDER RE: JT STIP FOR FURTHER CONTINUANCE OF STAY OF PROCEEDINGS
                                PENDING COMPLETION OF DOJ INV
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